                    Exhibit 6
Case 2:23-cv-00071-TRM-JEM Document 221-5 Filed 06/15/24 Page 1 of 11 PageID #:
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                 Realtor.com® Real Estate…
                                                                                                                              Open app
                               314,000+




            Johnson City, TN                                                Public View                Owner View




          1/65


   What’s your equity? (It’s easy to find out)

      Off Market
   Studio      3.5 bath 3,070 sqft

   200 E Main St Unit 5,                                                                                                 View on Map
   Johnson City, TN 37604

         Condos                                                               1921
         Property type                                                        Year built

         $800k in 2022
         Last sold


             Share this home


             Edit Facts


                            200 E Main St Unit 5, Johnson City, TN 37604
                      Create an affordable price, just for you


       Interested
        Owner Viewin selling 200 E Main St Unit 5?                                                                Connect with agent
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          Sold on May 27, 2022 for

          $800,000

                                                              See your offers




          Connect with an agent

          Get connected with an agent to find out what your home is worth and stay
          informed about how you can sell your home.




                                                              Find my agent



       Valid for 200 E Main St Unit 5 only. Not yours? Sell a different property




      N/A
      Nearby value comparison




      N/A
      Value change since last sold




      N/A
      Median rent for nearby properties



                             200 E Main St Unit 5, Johnson City, TN 37604




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      Get your home value updates

      Claim your home and get an email whenever there's an update to your home value.


                                                   I'm the owner, send me updates




          Property Details




     Property features

     Bedrooms
       Bedrooms: 0

     Other Rooms
       Total Rooms: 10

     Bathrooms
       Total Bathrooms: 3 / 1
       Full Bathrooms: 3
       1/2 Bathrooms: 1


     Show more




                                                Find out more about this property.

                                                              Contact agent




                             200 E Main St Unit 5, Johnson City, TN 37604




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     Moving
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     GET MOVING QUOTES



          Similar Homes For Sale


     Comparison of 200 E Main St Unit 5, Johnson City, TN 37604 with Nearby Homes:




         $245,000                                       $324,900                                          $249,000
         1 bed 1 bath 985 sqft                          2 bed 1,272 sqft                                  4 bed 1 bath 1,500 sqft
         116 Tipton St Apt 202                          200 E Main St Ste 401                             609 N Barton St
         Johnson City, TN 37604                         Johnson City, TN 37604                            Johnson City, TN 37604



     Interested in any of these homes?
     Have a local agent show you around.


                                                              Contact agent




                             200 E Main St Unit 5, Johnson City, TN 37604




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            Property History


     Price History


     Date                                    Event                                                        Price


     12/31/2023                              Listing Removed                                              -


     10/27/2023                              Listed                                                       $725,000


     05/23/2023                              Listing Removed                                              -


     02/27/2023                              Price Changed                                                $699,985


     01/25/2023                              Listed                                                       $725,000


     05/27/2022                              Sold                                                         $800,000


     10/20/2015                              Sold                                                         $225,100


     Show more



     Tax History


     Year                      Taxes                               Total assessments


     2021                      $4,466                              $115,120


     2020                      $4,444                              $115,120


     2019                      $4,444                              $115,120


     2018                      $4,746                              $111,160


     2017                     $4,746                          $111,160
                             200 E Main St Unit 5, Johnson City, TN 37604

     2016                      $2,952                              $69,475



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     Year                      Taxes                               Total assessments


     2015                      $2,674                              $69,475


     Show more



            Home Inspiration



                                                                          Is Peel-and-Stick
                                                                          Wallpaper Actually Better?
                                                                          Peel-and-stick wallpaper is touted for
                                                                          being cheaper, easier to install, and
                                                                          trendier than its traditional counterpart.




                                                                            Read More




            Schools


       Nearby Schools            Elementary          Middle        High         Private


     Rating*        School name                               Grades          Type          Students          Reviews     Distance


       7            South Side Elementary School              K-4             Public        323
                                                                                                              1 reviews
                                                                                                                          0.6 mi



       8            Liberty Bell Middle School            7-8          Public               1151              -           1.3 mi
                             200 E Main St Unit 5, Johnson City, TN 37604


       8            Science Hill High School                  9 - 12          Public        2251
                                                                                                              4 reviews
                                                                                                                          1.4 mi


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     * School data provided by National Center for Education Statistics, Pitney Bowes, and GreatSchools Independent for reference only.
     GreatSchool Ratings compare a school's test performance to statewide results. To verify enrollment eligibility, contact the school or
     district directly.



           Neighborhood             Noise, Commute




     Facts about 200 E Main St Unit 5

     In the Downtown Johnson City neighborhood of Johnson City, TN



              Commute time: Add a commute




              Noise level: Medium
        This home has a medium noise level for the
        surrounding area




                                                                  Ask an agent




           Nearby Home Values


                              200 E Main St Unit 5, Johnson City, TN 37604

           Environmental risk


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      Connect with an agent

         Full name*



         Email*



         Phone*



         Are you selling or buying?*



                                                                             Connect


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    Trends                                              Real Estate News                                Celebrity Real Estate                   Trends




       How Appalachia Has Become a                         The Fed’s Latest Interest                       NBA Cribs: We’ve Got                    ‘Full House’ Vi
       Hot—Even Hip—Place To Live…                         Rate Decision Could Affect…                     a Full-Court Press on…                  $6.5M—Here’s




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   Additional Information About 200 E Main St Unit 5, Johnson City, TN 37604

   See 200 E Main St Unit 5, Johnson City, TN 37604, a condo located in the Downtown Johnson City neighborhood. View property details, similar
   homes, and the nearby school and neighborhood information. Use our heat map to find crime, amenities, and lifestyle data for 200 E Main St
   Unit 5.

   The property-related information displayed on this page is obtained from public records and other sources.While such information is thought
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   Johnson City Homes for Sale

   Bakersville Homes for Sale

   Erwin Homes for Sale

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   Nearby ZIPs

   37604 Homes for Sale

   37601 Homes for Sale

   37650 Homes for Sale

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   Nearby Neighborhoods

   South Side Johnson City Homes
                         200      forStSale
                             E Main     Unit 5, Johnson City, TN 37604

   West Davis Park Homes for Sale

   Mountain Home Homes for Sale
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